Case 1:19-cv-01037-PLM-RSK ECF No. 60, PageID.548 Filed 05/19/21 Page 1 of 15




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


JOSEPH BRUNEAU,

                      Plaintiff,                     Case No. 1:19-cv-1037

v.                                                   Hon. Paul L. Maloney

AQUINAS COLLEGE,

                      Defendant.
                                     /

                           REPORT AND RECOMMENDATION

               On December 10, 2018, pro se plaintiff Joseph Bruneau filed this lawsuit against

defendant Aquinas College (sometimes referred to as “Aquinas”), alleging violations of the

Americans with Disabilities Act (“ADA”), the Rehabilitation Act, and the Michigan Persons With

Disabilities Civil Rights Act (“PWDCRA”) when defendant: expelled him in 1990; refused to

rescind the expulsion; issued a “no trespass” order against him in 2016; refused to rescind the “no

trespass” order; and had him charged with trespassing. Compl. (ECF No. 1). This matter is now

before the Court on defendant’s “Motion for dismissal or other sanction based upon plaintiff’s

violation of court discovery order” (ECF No. 44). This matter has been referred to the undersigned

for preparation of a report and recommendation pursuant to 28 U.S.C. § 636(b)(1)(B). See Non-

document order (April 9, 2021).

               I.      Discussion

               On April 13, 2020, the Court entered a case management order (CMO) which

divided discovery into two phases:

       Phase I will be conducted between March 24, 2020, and July 23, 2020. During
       Phase I, the parties will make Rule 26(a)(1), (2) and (2)(b) disclosures. Defendant

                                                1
Case 1:19-cv-01037-PLM-RSK ECF No. 60, PageID.549 Filed 05/19/21 Page 2 of 15




       will take plaintiff’s deposition. The parties will conduct any expert discovery,
       including an independent medical examination of plaintiff. Phase II will commence
       February 24, 2021, and conclude April 24, 2021. Phase II will include any
       discovery not completed during Phase I.

CMO (ECF No. 19, PageID.80).

               On June 17, 2020, pursuant to the parties’ stipulation, the Court extended Phase I

discovery until August 31, 2020. See Order (ECF No. 27). In the stipulation, the parties noted

that Phase I discovery included “initial written discovery, completion of Plaintiff’s deposition and

any elected expert discovery, including an IME of Plaintiff related to his status as a qualified

individual with a disability.” Id. This phase was impeded due to COVID-19 restrictions;

specifically, plaintiff (who the Court understands is a dual citizen of the United States and Canada)

“has advised that he is currently in Ontario, Canada and remains unable to cross the border due to

such restrictions.” Id.

               Based on the record, it appears that the Phase I discovery was not completed as

scheduled. On August 14, 2020, defendant filed a “Motion to compel plaintiff’s disclosure of

criminal / incarceration history” (ECF No. 29). To place the requested discovery in context,

defendant summarized the 2016 incident as follows:

       On the night of February 11, 2016, Plaintiff appeared on the campus of Aquinas
       College. Plaintiff was 46 years old and had not been a student at Aquinas for
       approximately 26 years. That evening, Aquinas College’s Campus Safety Office
       received and responded to several reports of strange behavior by Plaintiff on the
       campus, including Plaintiff attempting to gain access to secured Aquinas buildings;
       entering the Academic Building and interrupting a class in progress; Plaintiff
       soliciting a student to let him store his bags in the student’s room and to allow
       Plaintiff to stay overnight with the student; and Plaintiff going to the library, where
       he engaged in harassing, disruptive, erratic, and intimidating conduct toward
       several students. Plaintiff was requested to stop his disruptive and erratic behavior
       and refused to do so. Aquinas Campus Safety personnel therefore asked Plaintiff
       to leave campus, but Plaintiff would not comply. Plaintiff then engaged in a
       number of bizarre and troubling actions toward Campus Safety personnel, such as
       pulling a rock out of his bag and indicating it was a “weapon,” grabbing the arm of
       a Campus Safety officer; pulling out a razor and dry shaving his face in front of the

                                                 2
Case 1:19-cv-01037-PLM-RSK ECF No. 60, PageID.550 Filed 05/19/21 Page 3 of 15




       officers, making sexually suggestive and intimidating remarks to the officers, and
       putting on and taking off clothes. At nearly midnight, Aquinas Campus Safety
       personnel were forced to call the Grand Rapids Police Department (“GRPD”) due
       to Plaintiff’s refusal to leave. The GRPD responded to the incident and arrested
       Plaintiff for trespass. In the course of Plaintiff’s arrest, Plaintiff’s bags were
       searched and found to contain women’s underwear, sexual toys and bondage
       paraphernalia. GRPD officers discussed with Aquinas personnel that Plaintiff had
       a history of several serious criminal infractions. Aquinas determined to issue a “no
       trespass” order to Plaintiff based on the event. Plaintiff was convicted and served
       jail time for criminal trespass.

Defendant’s Brief (ECF No. 30, PageID.106-107).

              In its motion, defendant explained the relevance of plaintiff’s criminal history:

               Aquinas, among other defenses, maintains that its treatment of Plaintiff was
       based on legitimate, non-discriminatory reasons, namely his conduct, and not upon
       his alleged disability status. Aquinas further intends to counter Plaintiff’s assertion
       in the Complaint that the “no trespass” order was “unwarranted” by showing that
       the order was, in fact, warranted, both based on Plaintiff’s conduct and on
       information that was disclosed to Aquinas about Plaintiff's criminal history which,
       on information and belief, is substantiated.

                Aquinas also anticipates arguing that Plaintiff is not a “qualified individual”
       with a disability, to the extent his conduct and history (including potential criminal
       history that is the subject of this motion to compel) preclude him from satisfying
       the standards for enrollment at Aquinas. Aquinas will also argue that modification
       of its ordinary policies and procedures to relieve the “no trespass” order would not
       constitute a reasonable accommodation in light of Plaintiff's conduct and,
       potentially based on his criminal history. Aquinas may also argue that Plaintiff is
       not entitled to the relief he seeks to the extent the grant of such relief would present
       a direct threat to the health and safety of Plaintiff or others.

Id. at PageID.108. In this regard, the application for admission to Aquinas asks the applicant

“Have you ever been convicted of a criminal offense other than a minor traffic violation”, “Are

there criminal charges pending against you at this time?”, and “If YES to any question, please

attach a statement of explanation” (ECF No. 30-4, PageID.135) (emphasis in original).

              Defendant sought to compel responses to interrogatories 3, 9, and 11, and document

requests 3 and 4. Motion at PageID.104. In his response, plaintiff objected to providing

information regarding his criminal history and incarceration history as irrelevant. Defendant’s

                                                  3
Case 1:19-cv-01037-PLM-RSK ECF No. 60, PageID.551 Filed 05/19/21 Page 4 of 15




Brief at PageID.109-110. In light of this discovery dispute, the Court extended some case

management deadlines pursuant to a second stipulation. See Order (Aug. 25, 2020) (ECF No. 33).1

                  The Court set defendant’s motion for an in-person hearing on September 8, 2020

(ECF No. 31), and then re-scheduled it as a video hearing (ECF No. 36). Plaintiff failed to attend

the hearing. See Minutes (ECF No. 39). The Court re-scheduled the video hearing to September

21, 2020. See Notice (ECF No. 38); Minutes (ECF No. 40), and Transcript (ECF No. 48).

                  The Court addressed each discovery request at the hearing. The Court commenced

with plaintiff’s objection related to civil litigation history in interrogatory 3:

                  THE COURT: I am going to go through them so you won’t have to guess
          about them. I’ve got them right in front of me. So interrogatory 3 Aquinas asks
          you, have you ever been a party to a lawsuit or any other legal proceeding whether
          civil or criminal, including Workers’ Compensation or arbitration, other than the
          present lawsuit? If so, state the name of each case, the court in which the matter
          was/is pending and the date and manner of disposition of the case.

                  I can tell you, Mr. Bruneau, that asking the opposing party about, and
          particularly plaintiffs, whether they have been in litigation before is a standard
          question.

Trans. (ECF No. 48, PageID.238).

                  Then, the Court addressed the discovery related to plaintiff’s criminal history. At

first, the Court stated that evidence of arrests is not discoverable, but evidence of convictions is




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    The Court extended the following deadlines:

        “a. Per Plaintiff's preference, his deposition will proceed as currently scheduled. If the Court grants the
Motion in whole or in part, Defendant will be permitted to conduct further deposition of Plaintiff regarding the topics
for which the Motion is granted, notwithstanding the August 31, 2020 Phase 1 discovery deadline.

        b. The deadline for expert discovery, and the corresponding deadline for exchange of expert reports, will be
extended until October 16, 2020.

          c. The deadline for dispositive motions will be extended until November 6, 2020.”

Stipulation and Order (ECF No. 33).

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Case 1:19-cv-01037-PLM-RSK ECF No. 60, PageID.552 Filed 05/19/21 Page 5 of 15




discoverable. Id. at PageID.239. After further discussion, the Court focused on interrogatory 9

which asked,

               State whether you have ever been arrested, entered a plea of guilty, or been
       convicted of any crime. If so, state the date of the arrest and/or conviction, and the
       location of the arrest and/or conviction, and the law enforcement agency involved
       in the arrest.

Defendant’s Brief at PageID.30. The Court made the following ruling:

               Evidence of arrests arising from allegations of violence you will produce
       because I think those are fair game for the reasons that I outlined earlier with respect
       to Aquinas's admission policy for all students, not just you, but for everybody. So
       -- but other arrests. I don’t know, I mean, if you have arrests for -- arrests that did
       not result in convictions for crimes other than crimes involving violence you don't
       have to produce those.

Id. at PageID.241-242 (emphasis added).

               Next, the Court addressed interrogatory 11 which asked “[f]or any time periods you

were incarcerated between January 1990 and the present, identify for each period of incarceration

the dates of incarceration, the name and location of the facility in which you were incarcerated,

and the reason for the incarceration.” Id. at PageID.242. The Court found that the interrogatory

was a fair question (e.g., the Court noted that “if you are incarcerated, obviously you are not

available to be a student”). Id.

               Next, the Court addressed request to produce 3,

              Any and all documents in your possession or control related to your arrest
       by the Grand Rapids, Michigan Police Department in February 2016, including
       documents related to the arrest itself, subsequent criminal charges, incarceration,
       court proceedings, and/or the disposition of the criminal charges asserted in
       connection with such arrest.

Id. at PageID.243; Defendant’s Brief at PageID.109-110. The Court directed plaintiff to produce

documents in both the campus police report and the Grand Rapids Police Department (GRPD)

report. Trans. at PageID.243-244.



                                                  5
Case 1:19-cv-01037-PLM-RSK ECF No. 60, PageID.553 Filed 05/19/21 Page 6 of 15




                 With respect to request to produce 4, the Court stated that the ruling would be the

equivalent of interrogatory 9.2 Id. at PageID.245. The Court clarified the requested documents as

follows,

               THE COURT. Moving to document request No. 4, this is really, I guess,
        the document request equivalent of interrogatory 9, so my ruling on 9 and 4 would
        be the same and that would be documents related to any criminal charges or
        proceedings involving allegations of violence.

                And then any conviction records -- just so we’re clear, Mr. Bruneau, let's
        say you were convicted of shoplifting, you know, in 2000. Convicted, okay? Those
        records I want you to produce because they are conviction records. If you were
        charged with shoplifting in 2000 and not convicted, then you don’t have to produce
        those records if it was just an arrest and it got dismissed or nolle prossed or whatever
        for some reason. Are you clear on the difference?

                 MR. BRUNEAU: Yes.

Id. at PageID.245-246.

                 The Court entered its order the next day, stating in pertinent part as follows:

                Oral argument was held this date on Defendant’s Motion to Compel
        Plaintiff’s Disclosure of Criminal/Incarceration History (ECF No. 29). As more
        fully set forth on the record at the hearing, the motion is granted in part and denied
        in part as follows:

        1. Defendant’s Interrogatory No. 3. Granted as to civil cases.

        2. Defendant’s Interrogatory No. 9. Granted as to all criminal convictions and all
        arrests arising from allegations of violence.

        3. Defendant’s Interrogatory No. 11. Granted.

        4. Defendant’s Document Request No. 3. Granted.

        5. Defendant’s Document Request No. 4. Granted as to criminal convictions and
        arrests arising from allegations of violence.

        Plaintiff shall furnish responses as outlined above no later than October 6, 2020.

2
 Request to produce 4 asked plaintiff to produce, “Any and all documents in your possession or control related to any
other criminal charges or proceedings asserted against you in any jurisdiction since January 1990, including any
records concerning court proceedings, incarceration and/or probation for such charges or proceedings.” Defendant’s
Brief (ECF No. 30, PageID.110).

                                                         6
Case 1:19-cv-01037-PLM-RSK ECF No. 60, PageID.554 Filed 05/19/21 Page 7 of 15




Order (ECF No. 41) (emphasis in original).

                 On September 28, 2020, the Court extended the case management deadlines again.

See Order (ECF No. 43). The Court issued the second order because the original extension (ECF

No. 33) was based on the assumption that the motion hearing would occur on September 8, 2020.

The new order extended the deadline for expert discovery and for exchange of expert reports to

October 29, 2020, and the deadline for filing dispositive motions to November 19, 2020. Id.

                 On October 15, 2020, defendant filed the present motion for sanctions because

plaintiff violated this Court’s discovery order of September 22, 2020. In the motion, defendant’s

counsel stated that she has conferred in good faith with plaintiff to secure resolution of the

discovery dispute without Court action, “but Plaintiff continues to refuse to provide the requested

discovery.” Motion (ECF No. 29, PageID.105).

                 On October 16, 2020, plaintiff sent an email to defendant’s counsel stating that his

response was delayed because he was “on the road” due to an “extended trip” in the United States:

                 I’ve been on the road and that is the reason I have not responded to your
       emails.

              I just arrived back home in Canada last night after my extended trip to the
       US which began around the time of the Zoom Court appearance. I could not provide
       the documents earlier because they are all here. I can provide them within a few
       days.

              I’m sorry about the lack of adherence to the Court’s order. Hopefully you
       and the Court will understand.

Plaintiff’s email (ECF No. 47-2, PageID.203).

                 On November 5, 2020, defendant filed a “supplement” to their motion regarding

events which occurred since it filed the motion to compel. Plaintiff issued his amended responses

to the interrogatories and document production requests on October 23, 2020. See Plaintiff’s



                                                  7
Case 1:19-cv-01037-PLM-RSK ECF No. 60, PageID.555 Filed 05/19/21 Page 8 of 15




Responses (ECF No. 47-3). Defendant points out that plaintiff made unilateral modifications to

the scope of the information to be produced, which resulted in him providing no information about

his convictions, arrests, or incarcerations other than a copy of the arrest record for his arrest at

Aquinas. See Defendant’s Supplement at PageID.197.

               Defendant states that plaintiff violated the Court’s order because he improperly

confined the scope of his responses to criminal convictions to those involving “allegations of

violence,” rather than all convictions. Defendant’s independent research found four criminal

convictions: a 2001 conviction for felony assault of a police officer in Ohio, for which plaintiff

was sentenced to prison for two years (ECF No. 47-4, PageID.213); a 2000 guilty plea and

conviction for criminal sexual conduct fourth degree (CSC-4) in Walker, Michigan that originated

as a felony arrest and resulted in confinement (ECF No. 47-4, PageID.214); a 2014 guilty plea and

conviction for disturbing the peace in Wayland, Michigan which resulted in a fine or confinement

(ECF No. 47-4, PageID.214); and the 2016 guilty plea and conviction for trespass (ECF No. 47-4,

PageID.214-215).

               In interrogatory 9, which related to criminal arrests and convictions, plaintiff

responded:

       Criminal Convictions: None arising from allegations of violence.

       Arrests arising from allegations of violence: No legitimate arrests from allegations
       of violence.

 Plaintiff’s Response (ECF No. 47-3, PageID.209).

               In interrogatory 11, which related to incarceration since 1990, plaintiff stated:

       I was never justly incarcerated as a result of an allegation of violence. I was
       incarcerated while awaiting trial on the murder charge, but that resulted in a
       dismissal of the case with prejudice.

 Id.

                                                 8
Case 1:19-cv-01037-PLM-RSK ECF No. 60, PageID.556 Filed 05/19/21 Page 9 of 15




                 Finally, in request to produce 4, seeking documents related to criminal charges,

proceedings, and incarcerations since January 1990, plaintiff stated:

               Criminal convictions and arrests arising from allegations of violence: No
        convictions, no legitimate arrests (see response to Interrogatory 11 above).

Id. at PageID.210.

                 Through additional investigation, defendant found evidence for arrests which

involved violent crimes. Newspaper articles referred to a 1997 indictment for open murder, arising

from the death of a fellow mental institution patient in Grand Rapids (ECF No. 47-5, PageID.217)3

and a previous charge of malicious destruction of property related to an incident in which plaintiff

drove a vehicle through the window of a Honda dealership and smashed property with a baseball

bat, which apparently resulted in the jury finding plaintiff not guilty “because he was insane at the

time” (ECF No. 47-5, PageID.218). In addition, plaintiff’s medical records indicate assault

charges in Canada. A hospital record from January 24, 2020 states in part:

        According to the patient, he had had a number of altercations in the days and weeks
        prior to coming to hospital. He reported an incident where he had gotten into a fight
        with a special constable when he was just trying to avoid paying a fare on the TTC.
        The patient reported he had head-butted the constable and he faced a Charge for
        assaulting this officer. He also reported that he gotten into an altercation with
        someone after he confronted them about bringing their bike on the TTC.

Medical Record (ECF No. 47-6, PageID.221). Another record from February 5, 2020, states:

        Current ly [sic] he is facing charges where he got involved in an altercation with a
        man who had a bicycle in the subway. According to Joeseph [sic] the man took
        offence after his remark about TTC bicycles and rush hour and chased him down
        the platform.

Id. at PageID.222.




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 The newspaper article for the murder charge also referenced incidents in September 1994, when plaintiff brandished
a sword on the Grand Rapids Community College Campus (ECF No. 47-5, PageID.218).

                                                        9
Case 1:19-cv-01037-PLM-RSK ECF No. 60, PageID.557 Filed 05/19/21 Page 10 of 15




                 On November 2, 2020, plaintiff disclosed some records regarding his 1997 murder

 charge, but defendant states that the documents did not respond to the discovery requests. See

 emails (ECF No. 47-7).

                 On November 23, 2020, plaintiff filed an untimely response to defendant’s motion

 to dismiss (ECF No. 52). In his brief (ECF No. 52-1), plaintiff set out various explanations for

 failing to meet the Court’s deadline. Plaintiff made a vague statement about his unavailability due

 to his travels in the United States:

                Plaintiff was not able to comply with the Court’s October 6 deadline to
         provide answers to Defense interrogatories and document requests because his stay
         in the US went longer than expected. The necessary documents and information
         were in Canada, and Plaintiff had to return there before he could provide the
         information. Plaintiff arrived back in Canada on October 14.

 Plaintiff’s Brief at PageID.520-521.

                 Plaintiff blamed defendants for filing their motion for sanctions:

                 One day later, Defense counsel filed its first motion to dismiss. The
         dilemma facing Plaintiff was whether to respond to this motion, or to gather the
         documents the Court ordered him to provide. Plaintiff is not a legal team, but is one
         person. He provided the information and documents to Defense attorney as quickly
         as he could. Defense counsel has been late in providing some of its answers to
         Plaintiff's interrogatories and document requests as well. Plaintiff has been very
         accommodating in agreeing to extend deadlines when Defense has requested extra
         time on a number of occasions, but when Plaintiff is a bit late with something, it
         becomes an “emergency.”

 Id. at PageID.521.

                 Then, plaintiff ruminated on the distinction between a “guilty plea” and a “guilty

 verdict”:

         The problem here is that cases against Plaintiff always ended with a guilty plea or
         guilty verdict. This was not usually because he believed he was guilty, but because
         a plea was the simplest most cost effective resolution available to him. A contested
         trial would result in at least further trips to argue the matter in a court case, and
         potential fees to retain legal counsel as well.



                                                  10
Case 1:19-cv-01037-PLM-RSK ECF No. 60, PageID.558 Filed 05/19/21 Page 11 of 15




 Id.

                Plaintiff also claimed to be confused about providing information about his criminal

 history and needed more clarification from the Court:

                So, limiting discovery to only arrests where no violence is alleged would be
        no limit at all, because all of these cases eventually led to a conviction. For this
        reason, and because the language in the Court's order could be read either way, it is
        requested that the Court please provide clarification on the matter.

 Id.

                Plaintiff also disputed defendant’s conclusions regarding his past criminal

 convictions. First, plaintiff claimed that “the 2001 conviction for assault of a police officer was

 not an act of violence, and was therefore not included.” Id. at PageID.522. Second,

                The 2000 conviction for criminal sexual conduct, 4th degree, was never an
        arrest for felony sexual assault as defense contends. The charge is a high-court
        misdemeanor, and to Plaintiff's knowledge was never anything other. The charge
        arose from Plaintiff spanking a man and telling him to get back to work. Not an act
        of violence, and therefore was not included.

 Id. Third, “[t]he 2014 conviction for disturbing the peace in Wayland, Michigan was not an act

 of violence and was therefore not included.” Id.

                Finally, plaintiff asserted that none of the arrests identified by defendant involved

 acts of violence. First, “[t]he charge of malicious destruction of property [at the Honda dealership]

 did not result in a guilty verdict, and the incident itself was not an act of violence.” Id. at

 PageID.523. Second, “[t]he incident referenced in Plaintiff’s medical records, in which Plaintiff

 was reportedly charged with assault in Canada was not an act of violence.” Id. Third, “[t]he

 ‘incident referenced in Plaintiff’s medical records in which he was reportedly arrested for the

 assault of a man who had been riding a bicycle on the sidewalk,’ was not in fact an arrest at all.

 This was an assault on the Plaintiff and there was no police involvement in the matter whatsoever.”

 Id.

                                                  11
Case 1:19-cv-01037-PLM-RSK ECF No. 60, PageID.559 Filed 05/19/21 Page 12 of 15




                  Plaintiff’s claims are disingenuous and unsupported by the record. Plaintiff filed

 this pro se lawsuit in the United States District Court for the Western District of Michigan. As

 discussed, plaintiff failed to appear for the September 8th hearing, which required the Court to re-

 schedule the hearing and re-set case management deadlines. Plaintiff’s claim that he left his papers

 in Canada does not justify ignoring a Court imposed deadline. Nor does plaintiff’s travel plans

 around the United States.

                  With respect to the scope of discovery, the Court explained in detail the reasons

 why plaintiff had to respond to the discovery and what the Court expected plaintiff to include in

 his responses.     Plaintiff violated the Court’s order when he failed to identify his criminal

 convictions. In this regard, plaintiff’s claim that a guilty plea is not evidence to support a

 conviction is frivolous. Plaintiff also violated the Court’s order when he failed to identify his

 arrests for open murder, criminal sexual conduct, malicious destruction of property, assaulting a

 police officer, and assaulting the bicyclist. Plaintiff’s claim that these arrests did not involve

 crimes is frivolous. For these reasons, the Court concludes that plaintiff should be sanctioned.

                  Fed. R. Civ. P. 37 (Failure to make disclosures or to cooperate in discovery;

 Sanctions) provides in pertinent part as follows:

               If a party . . . fails to obey an order to provide or permit discovery,
        including an order under Rule 26(f), 35, or 37(a), the court where the action is
        pending may issue further just orders. They may include the following:

               (i) directing that the matters embraced in the order or other designated facts
        be taken as established for purposes of the action, as the prevailing party claims;

               (ii) prohibiting the disobedient party from supporting or opposing
        designated claims or defenses, or from introducing designated matters in evidence;

                  (iii) striking pleadings in whole or in part;

                  (iv) staying further proceedings until the order is obeyed;



                                                    12
Case 1:19-cv-01037-PLM-RSK ECF No. 60, PageID.560 Filed 05/19/21 Page 13 of 15




                   (v) dismissing the action or proceeding in whole or in part;

                   (vi) rendering a default judgment against the disobedient party; or

                  (vii) treating as contempt of court the failure to obey any order except an
          order to submit to a physical or mental examination.

 Fed. R. Civ. P. 37(b)(2)(A)(i)-(vii).4

                   The Court considers four factors when assessing the dismissal of a complaint as a

 sanction for discovery:

          (1) whether the party’s failure to cooperate in discovery is due to willfulness, bad
          faith, or fault; (2) “whether the adversary was prejudiced by the dismissed party’s
          failure to cooperate in discovery”; (3) “whether the dismissed party was warned
          that failure to cooperate could lead to dismissal”; and (4) “whether less drastic
          sanctions were imposed or considered before dismissal was ordered.”

 Smith v. Nationwide Mutual Fire Insurance Co., 410 Fed. Appx. 891, 894-95 (6th Cir. 2010),

 quoting Harmon v. CSX Transp., Inc., 110 F.3d 364, 366–67 (6th Cir.1997). “Although no one

 factor is dispositive, dismissal is proper if the record demonstrates delay or contumacious

 conduct.” Id., quoting United States v. Reyes, 307 F.3d 451, 458 (6th Cir. 2002). “Contumacious”

 is defined as “perverse in resisting authority” and “stubbornly disobedient.” Carthon v. Central

 State University, 290 F.R.D. 83, 87 (S.D. Ohio 2013).

                   Here, the sanction of dismissal is not appropriate.                     Although it appears that

 plaintiff’s failure to cooperate is discovery is due to willfulness, bad faith, or fault. However, the

 Court did not warn plaintiff that his failure to cooperate in discovery could lead to dismissal and

 concludes that less drastic sanctions should be imposed. Defendant sought plaintiff’s criminal

 history for five reasons: (1) to demonstrate that defendant’s treatment of plaintiff in 2016 was



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   Independent of the sanctions available for the discovery violations under Fed. R. Civ. P. 37, the Court could sua
 sponte dismiss a plaintiff’s complaint for failing to prosecute the action or failing to comply with a court order. See
 W.D. Mich. LCivR 41.1 (“A judicial officer may issue an order to show cause why a case should not be dismissed for
 lack of prosecution or for failure to comply with these rules, the Federal Rules of Civil Procedure, or any court order.”).

                                                            13
Case 1:19-cv-01037-PLM-RSK ECF No. 60, PageID.561 Filed 05/19/21 Page 14 of 15




 based on legitimate, non-discriminatory reasons, not upon plaintiff’s alleged disability status; (2)

 to counter plaintiff’s allegation that the 2016 “no trespass” order was “unwarranted” by showing

 that the order was warranted based on plaintiff's conduct and on information disclosed to defendant

 about his criminal history; (3) to establish that plaintiff is not a “qualified individual” with a

 disability, to the extent his conduct and history – including his criminal history – preclude him

 from satisfying the standards for enrollment at defendant; (4) to establish that modification of

 defendant’s ordinary policies and procedures to relieve the “no trespass” order would not constitute

 a reasonable accommodation in light of plaintiff’s conduct and criminal history; and (5) that

 plaintiff is not entitled to the relief he seeks to the extent the grant of such relief would present a

 direct threat to the health and safety of plaintiff or others. See Defendant’s Brief (ECF No. 30,

 PageID.108).

                  Discovery closed on April 24, 2021, and defendant has filed a timely motion for

 summary judgment which is ripe for review.5 Based on this record, defendant’s motion should be

 granted in part and plaintiff should be sanctioned as follows. First, pursuant to Fed. R. Civ. P. Fed.

 R. Civ. P. 37(b)(2)(A)(i), for purposes of this action, it is established that plaintiff was arrested and

 convicted of crimes of violence after his expulsion in 1990. Second, pursuant to Fed. R. Civ. P.

 37(b)(2)(A)(ii), plaintiff may not present any evidence to oppose any defenses raised by defendant

 which rely on this criminal history.

                  In reaching this determination, the Court concludes that plaintiff’s failure to comply

 with the September 22, 2021 Order was not substantially justified. Pursuant to Fed. R. Civ. P.

 37(b)(2)(C), plaintiff should be directed to pay the reasonable expenses, including attorney’s fees,

 caused by his failure to comply with this order.


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  The Court notes that the discovery deadlines have not been extended; rather, the Final Pre-Trial Hearing has been
 moved up from June 28, 2021 to June 14, 2021. See Order (ECF No. 59).

                                                        14
Case 1:19-cv-01037-PLM-RSK ECF No. 60, PageID.562 Filed 05/19/21 Page 15 of 15




                   II.    Recommendation

                   For these reasons, I respectfully recommend that defendant’s motion for sanctions

 (ECF No. 44) be DENIED as to dismissal of plaintiff’s action, and GRANTED with respect to

 other sanctions pursuant to Fed. R. Civ. P. 37 as follows:

                   A.     For purposes of this action, it is established that plaintiff was arrested and

 convicted of crimes of violence after his expulsion from Aquinas College in 1990. Fed. R. Civ. P.

 37(b)(2)(A)(i).

                   B.     Plaintiff may not present any evidence to oppose any defenses raised by

 defendant which rely on his criminal history. Fed. R. Civ. P. 37(b)(2)(A)(ii).

                   C.     Plaintiff be directed to pay the reasonable expenses, including attorney’s

 fees, cause by his failure to comply with this order. Fed. R. Civ. P. 37(b)(2)(C).


 Dated: May 19, 2021                                     /s/ Ray Kent
                                                         United States Magistrate Judge


 ANY OBJECTIONS to this Report and Recommendation must be served and filed with the Clerk
 of the Court within fourteen (14) days after service of the report. All objections and responses to
 objections are governed by W.D. Mich. LCivR 72.3(b). Failure to serve and file written objections
 within the specified time waives the right to appeal the District Court’s order. Thomas v. Arn, 474
 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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